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 1   [Submitting Counsel on Signature Page]
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 8                              IN THE UNITED STATES DISTRICT COURT
 9                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
10

11       IN RE: SOCIAL MEDIA ADOLESCENT                     MDL No. 3047
         ADDICTION/PERSONAL INJURY
12       PRODUCTS LIABILITY LITIGATION                      Case No. 4:22-md-03047-YGR
13                                                          STATUS UPDATE REGARDING
         This Document Relates to:                          PLAINTIFF STATES’ LEADERSHIP
14
         4:23-cv-05448-YGR                                  Judge: Hon. Yvonne Gonzalez Rogers
15
                                                            Magistrate Judge: Hon. Peter H. Kang
16

17
              The Plaintiff States submit the following update regarding the States’ Leadership in
18
     advance of the November 16, 2023, case management conference.
19

20   I.       The States are uniquely situated in this action.
21            Unlike the private plaintiffs represented by Plaintiffs’ Leadership, the States are distinct
22   sovereign entities. State sovereignty is a fundamental and long-recognized core principle of state
23   and federal law. See, e.g., Franchise Tax Bd. of California v. Hyatt, 139 S.Ct. 1485, 1493-94
24   (2019). The States’ Attorneys General are authorized by constitutions, statutes, and common law
25   to act as the chief law officers of their respective states.1 As such, they are authorized to represent
26
     1
      See, e.g., Ariz. Rev. Stat. § 41-192; Cal. Const. art. V, § 13; Colo. Rev. Stat. § 24-31-101(1)(b);
27   Conn. Gen. Stat. § 3-125; 29 Del. Code Ann. § 2504; Ga. Const. Art. V, § III, Para. IV; Ga. Code
     Ann. § 45-15-3; Haw. Rev. Stat. § 26-7; Ill. Const. art. V, § 15; 15 ILCS 205/1 et seq.; 815 ILCS
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                                                                        Status Update Regarding Plaintiff States’ Leadership
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 1   the States in civil actions to enforce and vindicate public rights to protect their residents and to

 2   punish and deter misconduct within their borders and jurisdiction. The mandate of the Attorneys

 3   General includes the representation of states in enforcing the federal and state consumer

 4   protection laws raised in the States’ Complaint. (Case No. 4:23-cv-05448, Doc. 1). The States’

 5   sovereign nature and the unique constitutional and statutory role of the Attorneys General does

 6   not allow or contemplate a court’s appointment of private counsel to represent the States’

 7   interests.

 8           In addition to the States being a different type of plaintiff altogether, the States’ consumer

 9   protection enforcement claims are also “fundamentally different from a class action or other

10   representative litigation.” Payne v. Nat’l Collections Sys., Inc., 91 Cal. App. 4th 1037, 1045

11   (2001). The States’ enforcement action is designed to protect the public, rather than benefit

12   private parties. City & Cnty. of San Francisco v. PG & E Corp., 433 F.3d 1115, 1125-26 (9th Cir.

13   2006) (quoting People v. Pac. Land Rsch. Co., 569 P.2d 125, 129 (Cal. 1977)). This is clear in the

14   remedies States are authorized to pursue for consumer protection claims: injunctive relief, which

15   can deter and prevent future misconduct, and civil penalties paid to the government, which deter

16   and punish misconduct. States may seek restitution for individuals, but the scope of relief

17   authorized for states’ claims is much broader than repayment for individual harms, which is the

18   primary object for private plaintiffs. See Pac. Land Rsch. Co., 569 P.2d at 129. Because the

19   nature of government consumer protection claims and the relief the States may seek here are

20   fundamentally different from the claims alleged and relief sought by the private plaintiffs,
21   municipalities, and school districts represented by Plaintiffs’ Leadership, the States require their

22   own distinct Leadership Structure to represent their interests here.

23

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25   505/7; Ind. Code § 4-6-1-6; Ky. Rev. Stat. Ann. 15.020(3); La. Const. art. IV, § 8; Md. Const. art.
     V, § 3; Minn. Stat. § 8.01; N.C. Gen. Stat. §§ 114-1 to 114-2; Ohio Rev. Code § 109.02; Or. Rev.
26   Stat. § 180.010 et seq.; 71 Pa. Stat. Ann. § 732-101 et seq; 73 Pa. Stat. Ann. § 201–1 et seq.; R.I.
     Gen. Laws 1956 § 42-9-2(a); S.D. Codified Laws 1-11-1; Va. Code Ann. §§ 2.2-500, 59.1-203;
27   Wash. Rev. Code § 43.10.030; Wash. Const. art. III, § 21; Wisc. Const. art. VI, § 3; Wis. Stat. §§
     100.18(11)(d), 165.25(1m); see also State v. Broad River Power Co., 157 S.C. 1, 153 S.E. 537,
28   560 (1929).
                                                       2
                                                                        Status Update Regarding Plaintiff States’ Leadership
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 1   II.     The States have closely coordinated their investigation and filing of the complaint
             against the Meta Defendants and will continue doing so during this litigation.
 2
             State Attorneys General routinely collaborate in multistate coalitions to enforce state and
 3
     federal consumer protection laws related to widespread issues of business misconduct that impact
 4
     multiple jurisdictions. Through these coordinated efforts, the Attorneys General have effectuated
 5
     reform in major areas such as the automotive, tobacco, and mortgage industries. When working in
 6
     multistate coalitions in the consumer protection space, Attorneys General frequently coordinate
 7
     on investigative efforts, discovery, litigation, settlement negotiations, and cost allocation.
 8
             Just so here. On October 24, 2023, thirty-three State Attorneys General filed a joint
 9
     complaint in this Court, in coordination with eight additional State Attorneys General2 who filed
10
     complaints against Meta in their respective state courts. Additionally, the Florida Attorney
11
     General filed in a similar enforcement action in federal court in Florida, which has since been
12
     conditionally transferred to this Court. The States, using previously established procedures,
13
     communication channels, and administrative supports for sharing documents and work product,
14
     have successfully operated in close coordination with each other to investigate the Meta
15
     Defendants’ conduct. This multistate work has included the establishment of committees within
16
     the multistate coalition, delegation of roles, and cooperation to achieve common goals. The States
17
     would like to operate similarly within and throughout the litigation using established structures to
18
     manage discovery efforts, litigation responsibilities, approval structures, and cost allocation,
19
     where appropriate, among the States.
20
             The States developed their States’ Leadership to operate generally in parallel with the
21
     Plaintiffs’ Leadership Structure approved by this Court and with the structure described in
22
     Section 10.22 of the Manual for Complex Litigation (Fourth). In allocating roles within the
23
     Leadership Structure, the States also considered the need to create a geographically and
24
     politically diverse representation of its members. The States have conferred and are in agreement
25
     regarding the Structure and allocation of their roles herein and have established procedures for
26
27   2
       The District of Columbia, Massachusetts, Mississippi, New Hampshire, Oklahoma, Tennessee,
     Utah, and Vermont filed lawsuits alleging state consumer protection law violations in their
28   respective state courts.
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 1   reviewing and approving action taken on their behalf by the States’ Co-Lead Counsel. The States’

 2   Leadership Structure will allow for coordination with the other parties to this litigation, including

 3   the Plaintiffs’ Leadership, as appropriate to maintain efficiency and a speedy and just resolution

 4   of this litigation.

 5   III.     The States have implemented a three-part leadership structure.
 6            The States will organize themselves as follows:

 7               A.        States’ Co-Lead Counsel

 8            The States’ Co-Lead Counsel will include Bianca Miyata (Senior Assistant Attorney

 9   General, Consumer Fraud, Colorado), Megan O’Neill (Deputy Attorney General, Consumer

10   Protection, California), and Chris Lewis (Commissioner, Consumer & Senior Protection,

11   Kentucky). To the extent that additional or substitute Co-Leads are needed later in the action, the

12   Plaintiff States may designate such additional or substitute Co-Lead Counsel. The States’ Co-

13   Lead Counsel will be responsible for coordinating the activities of the States during the course of

14   this litigation, with assistance, support and direction from the Steering Committee described

15   below.

16               B.        States’ Liaison Counsel

17            Bianca Miyata (Colorado) and Megan O’Neill (California), with and through delegated

18   staff from their respective offices, will also be designated as Liaison Counsel to provide an

19   efficient point of contact with the States for the Court and other parties, including for purposes of

20   scheduling.
21               C.        States’ Steering Committee

22            To maintain a nimble yet representative decision-making body, the States’ Steering

23   Committee will include the States’ Co-Lead Counsel as well as five additional members from

24   different States. To the extent that substitute or additional counsel are needed later in the action,

25   the Co-Leads may designate such additions or substitutions.

26               D.        States’ Working Group
27            The remaining States will be assigned to the States’ Working Group. The Working Group

28   States will provide feedback to the States’ Steering Committee regarding substantive and
                                                       4
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 1   dispositive decisions and perform work in support of the States’ Co-Leads and States’ Steering

 2   Committee when requested.

 3

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     Dated: November 14, 2023                           Respectfully submitted,
 5

 6

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                                                               COMPLAINT FOR INJUNCTIVE AND OTHER RELIEF
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 1   * In compliance with Civil Local Rule 5-1(i)(3), the filer of this document attests under penalty of
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